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                        IN THE UNTED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 NADIR K. DURRANI,                      §
                                        §
               Plaintiff,               §
                                        §
 VS.                                    §   CAUSE NO. 4:21-CV-03111
                                        §
 GUIDEONE NATIONAL INSURANCE            §
 COMPANY,                               §
                                        §
               Defendant.               §



                  DEFENDANT GUIDEONE INSURANCE COMPANY
                      MOTION FOR SUMMARY JUDGMENT


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                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


        Pursuant to Federal Rule of Civil Procedure 56, Defendant GuideOne Insurance Company

(“GuideOne”) requests this Court enter summary judgment in its favor and dismiss of all Plaintiff

Nadir K. Durrani’s (“Plaintiff”) claims with prejudice.

                       NATURE AND STAGE OF THE PROCEEDING

        This is an employment case. Plaintiff, a former GuideOne employee, asserts claims for age,

race, national origin, color, and/or religious discrimination and retaliation under the Texas

Commission on Human Rights Act (“TCHRA”) against his former employer GuideOne.

GuideOne employed Plaintiff from December 15, 2019 to November 4, 2020 when it terminated

his employment for plagiarism that exposed GuideOne to reputational and legal risk.

        The discovery deadline has passed. As explained herein, record evidence demonstrates no

genuine issues of material fact exist and that GuideOne is entitled to judgment as a matter of law

on all of Plaintiff’s claims.

                                SUMMARY OF THE ARGUMENT

        Q:      Sure. Do you believe that plagiarism is a bad thing?

        A:      I – I do not have an opinion about that.

        Q:      You do not?

        A:      I do not have an opinion.

                                                 * * *

        Q:      Do you understand her statement that plagiarism is unethical?

        A:      That’s what she’s saying.

        Q:      Do you agree with that?

        A:      It’s – It’s – it’s really, really a broad term. What is – what is plagiarism?
                What was plagiarized? I mean, it – it – it there’s – there’s – there are no

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                  specifics. You know, in – in gen – general term, I – it’s kind of hard to
                  establish that.1

                                                    * * *

“What prompted Sam Waters to dig out a months old document and look for plagiarism? Why

legal, [sic] did not catch any issues when they reviewed the same document for the first time?”2

          The above direct testimony exemplifies Plaintiff’s logic in formulating his theory that he

was wrongfully terminated. According to Plaintiff, plagiarism is not a bad thing and it was

GuideOne’s legal department’s fault for not catching his plagiarism the first time. Based on this

untenable opinion, Plaintiff postulates that something else must have motivated his termination.

Plaintiff is wrong. As demonstrated herein, Plaintiff was terminated because his plagiarism

exposed GuideOne to reputation and legal risk. Nothing else is at play.

          GuideOne’s identification of potential plagiarism, subsequent investigation, and decision

making process leading to Plaintiff’s termination are well-documented by contemporaneous

emails, text messages, and notes, all of which mandate the conclusion that Plaintiff was terminated

for legitimate, non-discriminatory, non-retaliatory reasons. Nonetheless, Plaintiff remains

convinced that GuideOne terminated his employment based on a laundry list other improper

criterion.

          Indeed, Plaintiff contends his termination was motivated by his age, race, national origin,

color, and/or religion because his subordinate, Randell Thompson—who was also investigated for

plagiarism—was not terminated as well. However, unlike Plaintiff, GuideOne’s investigation

determined that Mr. Thompson did not plagiarize copyrighted material. Instead, Mr. Thompson

improperly cited his source by referencing them in section headers without including a link to the



1
    Exhibit 1, Plaintiff’s Depo. at 67:9-13 and 120:18-121:1.
2
    Exhibit 2, November 11, 2020 email from Plaintiff to Katie Johnson.

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original article. Once Mr. Thompson demonstrated that he made a good faith effort to cite his

sources, GuideOne decided he should not be terminated.

        Plaintiff, on the other hand, was found to have plagiarized the following from a copyrighted

article published by Lorman Educational Services: “Mothballing a building requires consideration

of architectural structural and MEP features as well as the effects of weather, corrosion, and

ventilation on the existing features.”3 Until his deposition, Plaintiff never denied the allegation of

plagiarism. At deposition, his denial was tenuous at best. In defense of the clearly plagiarized

material, Plaintiff avers that it is a generic statement like “the grass is green” and that is why it is

identical to the Lorman article.4 Even if Plaintiff’s characterization is correct (which it is not), it

does not change the fact that, at the time of Plaintiff’s termination, GuideOne had a good faith

belief that Plaintiff plagiarized and exposed it to reputational and legal risk.

        At bottom, GuideOne investigated articles written by two employees for potential

plagiarism. GuideOne’s investigation determined that Plaintiff copied a sentence from a

copyrighted article without citation. The investigation also determined that Mr. Thompson cited

his sources but failed to include a link to the source. This difference in wrongdoing accounts for

the difference in treatment received and is not evidence of improper motive. The differences

between Plaintiff’s and Mr. Thompson’s conduct, coupled with the fact that the decision to hire




3
  Exhibit 1, Plaintiff’s Depo. at 82:3-8.
4
   Id. at 83:20-84:9 (Q. All right. Okay. We can -- we can put that aside for now. Thank you. A. Just wanted
to kind of -- if you -- if you – if you don't mind, to clarify something, that it's a sentence matching with
another article. Especially, you know, it -- it pertains to -- to the -- the basic contents of mothballing. It's -
- it's like if I -- in my statement, if I say the grass is green, I can guarantee you if you Google that, the grass
is green will have a million results. This is a basic statement out of the contents of mothballing. Any --
there could be a million statements that could be made, you know. Just like me saying the house is built
with bricks and wood, you know. So it's -- this is not something -- a strategy, a policy, a procedure, or any
of that, but just a basic statement that states a fact.).



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and fire Plaintiff was made by the same individual, Mark Groenheide, is fatal to all of Plaintiff’s

claims. Therefore, summary judgment in favor of GuideOne is appropriate.

       In the alternative, GuideOne is entitled to partial summary judgment on its after acquired

evidence and failure mitigate defenses.

                   STATEMENT OF UNDISPUTED MATERIAL FACTS

         In December 2019, Mark Groenheide hired Plaintiff as Head of Risk Engineering. Ex. 3,

Groenheide Aff. at ⁋ 4. Mr. Groenheide hired Plaintiff to assist with GuideOne’s new “Specialty

Division,” which focused on underwriting insurance policies that involve unique and complex

risks. Id. In September 2020, Mr. Groenheide hired Adam Berger to run GuideOne’s new

“Managing General Underwriter” (“MGU”) service, which digitized the underwriting process for

the energy industry. Id. at ⁋ 5. GuideOne hired Randell Thompson as a risk engineer in July 2020.

Ex. 4, Thompson Aff. at ⁋ 2. The MGU launched on November 1, 2020 and garnered significant

attention in the insurance industry. Ex 3, Groenheide Aff. at ⁋ 12.

       As the Head of Risk Engineering, one of Plaintiff’s duties was to write articles for

GuideOne’s brokers, insurers, and clients. Id. at ⁋ 6. On November 2, 2020, Plaintiff emailed Mr.

Groenheide and Mr. Berger an article titled Energy Equipment Fire Protection Guide. Id. at ⁋ 7.

Consistent with the usual procedures, Mr. Groenheide instructed Plaintiff to send the article to

GuideOne’s legal and marketing departments. Id. at ⁋ 8. Plaintiff emailed a copy of the article to

Sam Walters, Deputy General Counsel at GuideOne, and copied Mr. Groenheide, Mr. Berger, and

John Dlouhy from GuideOne’s marketing department. Ex. 5, November 4, 2020 email chain.

       During his review of the article, Mr. Waters noticed a change in writing style, which

prompted him to perform an internet search of a portion of the article’s text. Ex. 6, Waters’ Aff. at

⁋ 7. The search revealed that a portion of the article came directly from an article authored by

Atherton and Ash. Id. Mr. Waters subsequently responded to Plaintiff’s email advising that failure

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to correctly cite his sources was a violation of the original authors’ copyright. Ex. 5, November 4,

2020 email chain. Mr. Groenheide, who was copied on Mr. Waters’ response, was extremely

concerned about the potential copyright violation because GuideOne’s MGU service had just

launched a few days earlier. Ex. 3, Groenheide Aff. at ⁋ 12. Mr. Groenheide was particularly

concerned about GuideOne’s reputation and the damage an allegation of plagiarism could cause.

Id.; Ex. 5, November 4, 2020 email chain. Thus, Mr. Groenheide instructed Mr. Berger to further

investigate all other materials for other violations of copyright law and GuideOne’s policies. Id.

        The investigation lead to the discovery of the Mothballing During the Covid-19 Pandemic

article, which Plaintiff had authored a few months earlier. Ex. 7, email between Berger and Waters.

Mr. Waters investigated the article and discovered part of the article was plagiarized from an article

published by Lorman. Id. Particularly, Mr. Waters observed that the sentence, “Mothballing a

building requires consideration of architectural structural and MEP features as well as the effects

of weather, corrosion, and ventilation on the existing features,” was taken directly from the Lorman

article. Id.

        Following the investigation, Mr. Groenheide, Ms. Meyer, Ms. Johnson, and Mr. Berger

conferred regarding next steps. Ex. 8, Johnson Aff. at ⁋ 7. Mr. Groenheide decided that Plaintiff

and Mr. Thompson should be terminated for plagiarism. Id. Ms. Johnson and Mr. Berger planned

to hold termination discussions with Plaintiff and Mr. Thompson the next day, Thursday,

November 5, 2020. Id.

        Earlier that day, Ms. Johnson had contacted Shane Maas in IT to discuss GuideOne’s

technical capabilities around file sharing and to understand what files had been used or shared

between Plaintiff and Mr. Thompson. Ex. 9, Maas Aff. at ⁋ 4. While responding to Ms. Johnson’s

question, Mr. Maas noticed that Plaintiff had downloaded an unusually large number of documents



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from GuideOne’s Sharefile site starting earlier that day. Id. at ⁋ 4 and attachment. Mr. Maas

contacted Mr. Johnson in the evening of November 4, 2020 and informed her that Plaintiff had

downloaded an unusually large number of GuideOne documents that day. Ex. 8, Johnson Aff. at ⁋

8.

       After learning of the concerns raised by Mr. Maas, Ms. Johnson spoke with Mr. Groenheide

via telephone. Id. at ⁋ 9. During this discussion, Mr. Groenheide made the decision to terminate

Plaintiff and Mr. Thompson immediately. Id.; Ex. 14, Johnson Depo. at 110:1-14.

       At 6:30 PM on November 4, 2020, Ms. Johnson and Mr. Berger called Plaintiff and

informed him of his termination. Id. at ⁋ 10. Mr. Berger informed Plaintiff that he was being

terminated for plagiarism, which violated GuideOne’s code of conduct and created reputational

and legal risk for GuideOne. Ex.10, Termination Recap - Plaintiff. During the call Plaintiff did not

deny the allegation but, instead, repeatedly stated “legal cleared everything” he had written. Ex. 8,

Johnson Aff. at ⁋ 10.

       Following the call with Plaintiff, Ms. Johnson and Mr. Berger called Mr. Thompson to

inform him of his termination. Id. at ⁋ 11. Mr. Thompson immediately denied the plagiarism

allegation and asserted that all of the sources used in the Energy Equipment Fire Protection Guide

were properly cited. Id..; Ex. 16, Termination Recap - Mr. Thompson. Ms. Johnson asked if Mr.

Thompson could show where he had cited his sources. Ex. 8, Johnson Aff. at ⁋ 11. Mr. Thompson

indicated that he could and stated that he would email the document to Ms. Johnson and Mr.

Berger. Id. Mr. Thompson was suspended pending the outcome of the document review. Id. A few

minutes later, Mr. Thompson called Ms. Johnson and Mr. Berger and stated that he could no longer

access his computer. Id. Mr. Berger advised he would work with IT to retrieve the document Mr.

Thompson had sent to Plaintiff. Id.



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       On November 5, 2020, Mr. Berger reviewed the Energy Equipment Fire Protection Guide

and informed Mr. Groenheide that Mr. Thompson had attempted to cite all of the sources in the

article. Ex. 3, Groenheide Aff. at ⁋ 13. Mr. Groenheide decided that Mr. Thompson should not be

terminated. Id. As a result, the decision to terminate Mr. Thompson was reversed. Id. at ⁋ 14.

                            SUMMARY JUDGMENT STANDARD

       Summary judgment is proper under Federal Rule of Civil Procedure 56 “if the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

show that there is no genuine issue of material fact and that the moving party is entitled to judgment

as a matter of law.” A fact is “material” if it “might affect the outcome of the suit under the

governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The moving party

bears the initial burden of “informing the Court of the basis of its motion” and identifying those

portions of the record “which it believes demonstrates the absence of a genuine issue of material

fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party meets its burden,

the non-moving party must go “beyond the pleadings” and identify “specific facts” in the record

“showing that there is a genuine issue for trial.” Id. at 324; Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 587 (1986).

             MCDONNELL DOUGLAS BURDEN SHIFTING FRAMEWORK

       A plaintiff “may prove a claim of intentional discrimination . . . either by direct or

circumstantial evidence.” McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir. 2007). “If the

plaintiff presents only circumstantial evidence, then she must prove discrimination inferentially

using ‘[t]he three-step McDonnell Douglas-Burdine minuet.’” Etienne v. Spanish Lake Truck &

Casino Plaza, L.L.C., 778 F.3d 473, 475 (5th Cir. 2015) (quoting Davis v. Chevron U.S.A., Inc.,

14 F.3d 1082, 1087 (5th Cir. 1994). Under the McDonnell Douglas framework, “the plaintiff must

[first] establish a prima facie case of discrimination.” Reeves v. Sanderson Plumbing Products,

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Inc., 530 U.S. 133, 142 (2000). Once the plaintiff has established a prima facie case of

discrimination, the burden shifts to the employer to articulate a legitimate, non-discriminatory

reason for the adverse employment action. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802

(1973). Once the employer meets its burden, the plaintiff must present “substantial evidence” that

the asserted reason for termination is a pretext for discrimination. Owens v. Circassia Pharm., Inc.,

33 F.4th 814, 826 (5th Cir. 2022). To be sufficient, the evidence must be of the “nature, extent,

and quality” to permit a jury to reasonably infer discrimination or retaliation. Id. (quoting

Crawford v. Formosa Plastics Corp., La., 234 F.3d 899, 902 (5th Cir. 2003)).

                                          ARGUMENT

       All of Plaintiff’s claims fail as a matter of law. First, Plaintiff has no direct evidence of

discrimination or retaliation. Second, Plaintiff cannot establish a hostile work environment. Third,

Plaintiff cannot establish a prima facie case of retaliation. Fourth, Plaintiff cannot overcome the

presumption that discriminatory animus was not present where the same actor responsible for his

termination—Mr. Groenheide—also hired him. Fifth, Plaintiff fails to create a genuine dispute of

material fact regarding GuideOne’s articulated legitimate non-discriminatory, non-retaliatory

reason for its termination decision. Specifically, Plaintiff was terminated for plagiarism that

exposed GuideOne to reputational and legal risk. Plaintiff has no evidence that establishes that this

proffered reason is false or a pretext for discrimination or retaliation. Alternatively, GuideOne is

entitled to partial summary judgment on its failure to mitigate defense and/or after acquired

evidence defenses.

       A.      There is no direct evidence to support Plaintiff’s claims.

       In the context of employment discrimination and retaliation claims, such as the one brought

by Plaintiff in this case, “direct evidence” includes any statement or document that shows on its

face that an improper criterion served as a basis for the adverse employment action and evidence

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that the person with decision-making authority took into consideration an improper motive. Harry

v. Dallas Hous. Auth., 662 F. App’x 263, 266 (5th Cir. 2016) (holding the comment “You have

been in the United States for several years now, why can’t you adapt?” is not direct evidence of

discrimination because inference is required to link them to the employee’s termination); Jackson

v. Corp. Serv. Co., No. CV H-11-4404, 2013 WL 11309365, at *8 & n. 3 (S.D. Tex. Apr. 17, 2013)

(Gilmore, J.) (stating, “[d]irect evidence is rare and only encompasses a small universe of

evidence: ‘statements or documents which show on its face that an improper criterion served as a

basis—not necessarily the sole basis, but a basis—for the adverse employment action are direct

evidence of discrimination,’ and evidence that persons with decision–making authority evince

racial animus constitute direct evidence of discrimination.”). Here, Plaintiff has no direct evidence

of discrimination or retaliation.

       Nevertheless, GuideOne anticipates that Plaintiff may argue that statements allegedly made

by Mr. Groenheide constitute direct evidence. These alleged statements, which GuideOne denies

Mr. Groenheide made, are not direct evidence because they are not specific or directly linked to

the adverse employment action. Washburn v. Harvey, 504 F.3d 505, 510 (5th Cir. 2007) (vague

allegation of a statement by a supervisor was not direct evidence); Jones v. Overnite Transp. Co.,

212 F. App’x 268, 273 (5th Cir. 2006) (“Both comments and the request reveal a discriminatory

motive on their face but lack the indicia of specificity and causation required to be direct evidence

of race discrimination.”). Indeed, Plaintiff admits he communicated only with Mr. Berger and Ms.

Johnson about his termination. Ex. 1, Plaintiff’s Depo. at 32:12-33:1, 46:2-6. Because Plaintiff

only communicated about his termination with Mr. Berger and Ms. Johnson, any statements

allegedly made by Mr. Groenheide could not possibly be directly linked to his termination.

Therefore, Plaintiff has no direct evidence of discrimination or retaliation.



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       B.      Plaintiff was not subjected to a hostile work environment.

       It is unclear from Plaintiff’s Complaint whether he is alleging that he was subjected to a

hostile work environment. To the extent that Plaintiff is asserting a hostile work environment

claim, the claim fails as a matter of law. “To make a prima facie showing of a hostile environment

claim, a plaintiff must show in part that the workplace was permeated with discriminatory

intimidation, ridicule, and insult sufficiently severe or pervasive to alter the conditions of the

victim's employment and create a hostile or abusive working environment.” Esparza v. Univ. of

Tex. at El Paso, 471 S.W.3d 903, 912 (Tex. App.–El Paso 2015, no pet.). Plaintiff alleges Mr.

Groenheide called him “Mr. T” on two or maybe three occasions. Ex. 1, Plaintiff’s Depo. at 60:16-

20. (Q. Did Mark call you Mr. T after February 2020? A. He did walking by my office one time.

Stick -- stuck his head in there, "Hey, Mr. T." Q. So how many times in total did he call you Mr.

T? A. Maybe two or three potentially.). Plaintiff also alleges Mr. Groenheide frequently used the

“f” word and was critical about the way he dressed. Id. at 60:21-61:8 (Q. Is there any other way

that Mark treated you with disrespect? A. His language. . . . Q. What about his language was

disrespectful? A. Foul language. . . . Q. What language did he use? A. A lot of "f" words.), 61:24-

62:6 (Q. Aside from calling you Mr. T two to three times, did Mark call you any other names? A.

He would comment -- he would comment on the way I was dressed. Q. What would he say? A.

You know, he would look at my shoes, "Hey, where did you get those shoes?" Or, you know, he

was critical of my -- you know, the way I would dress.). Finally, Plaintiff alleges Mr. Groenheide

cut him off and refused to answer his phone calls. Id. at 62:13-23 (Q. Is there any other way that

Mark treated you with disrespect? A. Yes. Q. How so? A. He total cut me off. He will not answer

my phone calls). These allegations, which GuideOne deny, are insufficiently severe or pervasive

to alter the conditions of the Plaintiff’s employment and create a hostile or abusive working

environment. Therefore, Plaintiff’s hostile work environment claim(s) fail as a matter of law.

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       C.      Plaintiff cannot establish a prima facie case of retaliation.

       Because Plaintiff fails to provide direct evidence of retaliation, he must create a

presumption of intentional retaliation by establishing a prima facie case of retaliation. McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802–04 (1973). A plaintiff may establish a prima facie

case of retaliation based on indirect evidence by demonstrating that: (1) he participated in protected

activity under the TCHRA, (2) he suffered an adverse employment action by his employer, and

(3) there is a causal connection between the protected activity and the adverse action. See Stewart

v. Miss. Transp. Comm'n, 586 F.3d 321, 331 (5th Cir. 2009) (stating elements for Title VII case).

Retaliation claims under Title VII and TCHRA are analyzed similarly. See Gorman v. Verizon

Wireless Texas, L.L.C., 753 F.3d 165, 170 (5th Cir. 2014) (noting the “substantive law governing

Title VII and TCHRA retaliation claims is identical”). “If the employee establishes a prima facie

case, the burden shifts to the employer to state a legitimate, non-retaliatory reason for its decision.

After the employer states its reason, the burden shifts back to the employee to demonstrate that the

employer’s reason is actually a pretext for retaliation,” LeMaire v. Louisiana, 480 F.3d 383, 388–

89 (5th Cir. 2007), which the employee accomplishes by showing that the adverse action would

not have occurred “but for” the employer’s retaliatory motive. University of Texas Southwestern

Medical Center v. Nassar, 570 U.S. 338, 360-61 (2013).

       Here, Plaintiff cannot establish the first or third elements of his prima facie retaliation

claim. Plaintiff alleges that he “expressed his concern” about a comment allegedly made by Mr.

Groenheide to his co-worker Kent McCampbell. Original Complaint Dkt No. 1 at 6. This

“concern” was nothing more than asking Mr. McCampbell his opinion about the alleged comment.

Ex. 11, McCampbell Depo. at 46:10-47:9. Plaintiff’s vague statement to Mr. McCampbell, if

proven, does not constitute a protected activity. See, e.g., Tratree v. BP N. Am. Pipelines, Inc., 277

Fed.Appx. 390, 395 (5th Cir. 2008) (“Complaining about unfair treatment without specifying why

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the treatment is unfair ... is not protected activity.”); Harris–Childs v. Medco Health Solutions,

Inc., 169 Fed.Appx. 913, 916 (5th Cir. 2006) (affirming summary judgment on retaliation claim

where plaintiff never “specifically complained of racial or sexual harassment, only harassment”);

Moore v. United Parcel Serv., Inc., 150 F. App’x 315, 319 (5th Cir. 2005) (“Moore ... was not

engaged in a protected activity, as his grievance did not oppose or protest racial discrimination or

any other unlawful employment practice under Title VII.”). Additionally, at deposition, Plaintiff

admitted that he never went to human resources to complain about anything at any time. Ex. 1,

Plaintiff’s Depo. at 61:21-23 (Q. And did you ever go to human resources to complain about

anything at any time? A. No.). Therefore, Plaintiff cannot establish the first element of his prima

facie case and his retaliation claim fails as a matter of law.

       Even if Plaintiff’s vague statement to Mr. McCampbell constitutes a protected activity

(which it does not), Plaintiff cannot prove a causal connection between the activity and his

termination. To satisfy the causation prong of his prima facie case, “a plaintiff must show that the

decision maker who committed the adverse employment action was aware of the plaintiff’s

protected activity.” Perches v. Elcom, Inc., 500 F. Supp. 2d 684, 692 (W.D. Tex. 2007) (citing

Manning v. Chevron Chem. Co., 332 F.3d 874, 883 (5th Cir. 2003)); see Gollas v. Univ. of Tex.

Health Sci. Ctr., 425 F. App’x 318, 325 (5th Cir. 2011). There is no record evidence that the

decision maker, Mr. Groenheide, was aware of Plaintiff’s statement to Mr. McCampbell.

Therefore, Plaintiff’s retaliation claim fails as a matter of law.

       D.      GuideOne is entitled to the Same Actor Inference of non-discrimination.

       Texas courts apply the McDonnell Douglas burden-shifting analysis to TCHRA

employment discrimination cases. Quantum Chemical Corp. v. Toennies, 47 S.W.3d 473, 476

(Tex. 2001) (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-05 (1973)). Likewise,

Texas court recognize the “same actor inference” of non-discrimination. See Kanen v. DeWolff,

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Boberg & Associates, Inc., 05-20-00126-CV, 2022 WL 152527, at *5 (Tex. App.--Dallas Jan. 18,

2022); Fenley v. Texas Plumbing Supply Co., Inc., 14-19-00851-CV, 2021 WL 1881273, at *5

(Tex. App.—Hous. [14th Dist.] May 11, 2021). “The same actor inference creates a presumption

that animus was not present where the same actor responsible for the adverse employment action

either hired or promoted the employee at issue.” Spears v. Patterson, 337 F. App’x 416, 421-22

(5th Cir. 2009). Where the same actor inference applies, Plaintiff must submit “sufficiently

egregious” facts to overcome the inference that GuideOne’s stated reasons for discharging Plaintiff

are not pretexutal. Raggio v. Parkland Meml. Hosp., CA 3-95-CV-0680-R, 1997 WL 135662, at

*5 (N.D. Tex. Mar. 12, 1997) (citing Brown v. CSC Logic, Inc., 82 F.3d 651, 658 (5th Cir. 1996)).

       Here, the record evidence demonstrates that Mr. Groenheide hired Plaintiff. Ex. 1,

Plaintiff’s Depo. at 21:2-3 (Q. Did Mark Groenheide offer you a job? A. Yes.); Ex. 3, Groenheide

Aff. at ⁋ 4. Likewise, the record evidence demonstrates that Mr. Groenheide made the decision to

terminate Plaintiff’s employment. Ex. 8, Johnson Aff. at ⁋⁋ 7 & 9; Ex. 12, Johnson Notes (“Mark

verbally said 11-4 evening term immediate given IT concern.”); Ex. 13, Text Messages. Because

the same actor inference applies, the burden shifts to Plaintiff to come forth with “sufficiently

egregious” facts. As explained below, there is no record evidence of pretext, let alone, egregious

conduct. Therefore, all of Plaintiff’s claims fail as a matter of law.

       E.      Plaintiff was terminated for legitimate non-discriminatory, non-retaliatory,
               and non-pretexutal reasons.

       GuideOne has articulated a legitimate reason for its employment decisions. Specifically,

GuideOne terminated Plaintiff’s employment because his plagiarism exposed GuideOne to

reputation and legal risk. Ex. 8, Johnson Aff. at ⁋ 10. Once an employer articulates a legitimate

reason for its business decision, the presumption of retaliation dissolves, and a plaintiff must prove

the proffered reason constitutes pretext for discrimination or retaliation. McDonnell Douglas Corp.


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v. Green, 411 U.S. 792, 802–04 (1973). To satisfy this burden, Plaintiff must produce “substantial

evidence indicating that the proffered legitimate reason is a pretext for discrimination.” Burton v.

Freescale Semiconductor, Inc., 798 F.3d 222, 233 (5th Cir. 2015) (quoting Laxton v. Gap Inc., 333

F.3d 572, 578 (5th Cir. 2003)) (emphasis added). Plaintiff may achieve this “either through

evidence of disparate treatment or by showing that the employer’s proffered explanation is false

or ‘unworthy of credence.’” Delaval v. Ptech Drilling Tubulars, LLC, 824 F.3d 476, 480 (5th Cir.

2016).

         Here, Plaintiff’s claims fail because no record evidence supports the conclusion that the

stated reason for his termination are actually pretext for retaliation. Nonetheless, GuideOne

anticipates that Plaintiff will argue that he can demonstrate pretext through allegedly disparate

treatment he received as compared to Mr. Thompson. However, Plaintiff is not similarly situated

to Mr. Thompson. Mr. Thompson was Plaintiff’s subordinate and, therefore, not an appropriate

comparator. Furthermore, Plaintiff and Mr. Thompson engaged in different conduct that resulted

in different outcomes rendering them not similarly situated.

         In the Fifth Circuit, “to establish disparate treatment a plaintiff must show that the employer

gave preferential treatment to another employee under nearly identical circumstances.” Okoye v.

University of Texas Houston Health, 245 F.3d 507, 514 (5th Cir. 2001); see Keller v. Coastal Bend

Coll., 629 F. App’x 596, 602 (5th Cir. 2015) (stating that the court must “compare the treatment

of other employees whose conduct is ‘nearly identical’ to the plaintiff’s conduct and who were

treated more favorably than the plaintiff.”). “The employment actions being compared will be

deemed to have been taken under nearly identical circumstances when the employees being

compared held the same job or responsibilities, shared the same supervisor or had their

employment status determined by the same person, and have essentially comparable violation



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histories.” Lee v. Kan. City S. Ry. Co., 574 F.3d 253, 260 (5th Cir. 2009). However, when the

differences in conduct accounts for the differences in outcome, the employees are not similarly

situated. As the Fifth Circuit has explained,

       the plaintiff’s conduct that drew the adverse employment decision must have been
       “nearly identical” to that of the proffered comparator who allegedly drew dissimilar
       employment decisions, because [i]f the difference between the plaintiff’s conduct
       and that of those alleged to be similarly situated accounts for the difference in
       treatment received from the employer, the employees are not similarly situated for
       the purposes of an employment discrimination analysis.

Turner v. Kan. City S. Ry. Co., 675 F.3d 887, 893 (5th Cir. 2012) (quoting Lee, 574 F.3d at 260),

as revised (June 22, 2012) (emphasis added); see Glaskox v. Harris Cty., Tex., 537 F. App’x 525,

529 (5th Cir. 2013) (“[A] plaintiff ‘must show that ... employees [who were not members of the

plaintiff’s protected class] were treated differently under circumstances nearly identical to his.’”

(quoting Turner, 675 F.3d at 893)); Hernandez v. Yellow Transp., Inc., 670 F.3d 644, 659 (5th Cir.

2012); Vaughn v. Woodforest Bank, 665 F.3d 632, 638 (5th Cir. 2011) (opining that a valid

comparator could not be established through an employee that had never committed the same

violation that prompted the plaintiff’s adverse employment action); Perez v. Tex. Dep’t of Crim.

Justice, 395 F.3d 206, 210 (5th Cir. 2004) (emphasizing that assessment of similarity of employees

must be viewed from employer’s perspective).

       Here, Plaintiff and Mr. Thompson are not similarly situated. First, the record demonstrates

that Plaintiff was Mr. Thompson’s supervisor. Ex. 1, Plaintiff’s Depo. 22:21-23 (Q. Did anyone

else report to you? A. The -- yes. Randy Thompson.). “A supervisor and his subordinates are not

similarly situated.” Wilson v. L&B Realty Advisors, LLP, 3:20-CV-2059-G, 2022 WL 102564, at

*22 (N.D. Tex. Jan. 11, 2022) (citing Amezquita v. Beneficial Texas, Inc., 264 F. Appx. 379, 386

(5th Cir. 2008); see also Grimes v. Wal–Mart Stores Texas, L.L.C., 505 F. App'x 376, 379 (5th

Cir. 2013) (plaintiff's subordinate who was also a manager not a valid comparator); Crosby v.


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Computer Sci. Corp., 470 F. App'x 307, 309 (5th Cir. 2012) (plaintiff's supervisor not a valid

comparator); Greer v. Armstrong World Industries, Inc., 5:09-CV-20 (DCB), 2010 WL 2926043,

at *6 (S.D. Miss. July 21, 2010) (“In fact, Robertson was one of the plaintiff's subordinates, which

negates any suggestion that she and the plaintiff were proper comparators.”). Therefore, Mr.

Thompson is not a valid comparator for purposes of the similarly situated analysis.

       Moreover, even if Mr. Thompson is a potentially valid comparator (which he is not), Mr.

Thompson and Plaintiff did not engage in “nearly identical” conduct. Plaintiff concedes that the

statement at issue in the Mothballing article was taken word for word from another source without

citation. Ex. 1, Plaintiff’s Depo. at 82:3-8 (Q. Now, that's the same sentence. That's the identical

sentence to the one you just read. Would you agree? A. Seems like it. Q. Right. And you didn't

write this Lorman article? A. No.). The record evidence demonstrates this plagiarism was the

actual reason for Plaintiff’s termination. Ex. 7, email between Berger and Waters; Ex. 8, Johnson

Aff. at ⁋⁋ 4-10; Ex. 14, Johnson Depo. at 110:1-14. By contrast, Mr. Thompson, albeit improperly,

attempted to cite his sources. See Ex. 15, Energy Sector Equipment Fire Protection Article.




The evidence is clear, Mr. Thompson’s good faith attempt to cite his sources was the actual reason

he was not terminated. Ex. 3, Groenheide Aff. at ⁋ 13-14. Thus, the difference in conduct resulted

in a difference in outcome. Therefore, Mr. Thompson and Plaintiff are not similarly situated as a

matter of law. Turner, 675 F.3d at 893. Finally, when confronted with the allegation of plagiarism,

Plaintiff blamed “legal” while Mr. Thompson denied the allegation outright and was able to

demonstrate that he made a good faith effort to cite his sources, which further supports the

conclusion the two are not similarly situated.


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        At bottom, Plaintiff and Mr. Thompson are not similarly situated and there is no other

record evidence that arguably supports a finding of pretext. Moreover, even if the similarly situated

analysis is a close call (which it is not), it is insufficient to create a genuine issue of material fact

in light of the same actor inference. Therefore, GuideOne is entitled to judgment as a matter of law

as to all of Plaintiff’s claims.

        F.      In the alternative, GuideOne is entitled to partial summary judgment on its
                after-acquired evidence defense.

        “When there is after-acquired evidence that would justify a plaintiff's termination, front

pay and reinstatement are not appropriate remedies, although back pay may be awarded from the

date of the unlawful discharge to the date the new information was discovered.” Weeks v. Coury,

951 F. Supp. 1264, 1274 (S.D. Tex. 1996) (citing McKennon v. Nashville Banner Pub. Co., 513

U.S. 352 (1995)) “Where an employer seeks to rely upon after-acquired evidence of wrongdoing,

it must first establish that the wrongdoing was of such severity that the employee in fact would

have been terminated on those grounds alone if the employer had known of it at the time of the

discharge.” McKennon, 513 U.S. at 363.

        On November 24, 2020, Mr. Thompson discovered several forms Plaintiff had uploaded to

GuideOne’s system. Mr. Thompson recognized these forms as proprietary documents belonging

to their previous employer. Ex. 4, Thompson Aff. at ⁋ 12 and Exhibit. Had Plaintiff not been

terminated on November 4, 2020, he would have been terminated on November 24, 2020 when

GuideOne discovered he had saved proprietary content from a previous employer on GuideOne’s

system and potentially exposed GuideOne to liability. Therefore, GuideOne is entitled to partial

summary that Plaintiff is not entitled to back pay after November 24, 2020.




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       G.      In the alternative, GuideOne is entitled to partial summary judgment on its
               failure to mitigate defense.

       Plaintiff is required to mitigate his damages by using reasonable efforts to obtain and

maintain comparable employment following his termination. West v. Nabors Drilling USA, Inc.,

330 F.3d 379, 393 (5th Cir. 2003). The West court held that once an employer proves the employee

failed to make reasonable efforts to obtain work, the employer does not also have to prove the

availability of substantially equivalent employment. Id. Nevertheless, some courts have suggested

that an employer always bears the burden to prove both elements and cite to Sparks v. Griffin, 460

F.2d 433, 443 (5th Cir. 1972). This court should apply the rule set forth by the court in West.

However, the Court need not determine which rule is controlling because the undisputed evidence

establishes that Plaintiff failed to make reasonable efforts and that substantially equivalent

employment was available.

       After Plaintiff’s separation from GuideOne, he was unemployed for approximately nine

months. He accepted full time employment with Zurich Insurance Group in July 2021. Ex. 1,

Plaintiff’s Depo. at 14:14-21. After accepting employment with Zurich, at a rate of pay allegedly

lower than his pay at GuideOne, Plaintiff abandoned his search for comparable employment. Id.

at 14:22-15:1. Nevertheless, Plaintiff seeks to recover the difference between the income he would

have earned at GuideOne and the income he actually earned at Zurich. However, Plaintiff admits

that he has failed to make reasonable efforts to obtain work at a comparable level of compensation

after July 2021. Id. at 14:18-15:1. (“Q: Have you looked for any other work while you've been

employed with Zurich? A. I have not actively, no. I mean -- Is that a "no"? A: Yes, that's a "no,"

yes.) It is plainly inequitable for Plaintiff to voluntarily accept and remain at a job with a lower

rate of pay, while at the same time seeking recovery of the difference in income from GuideOne.




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Moreover, the record evidence demonstrates that substantially equivalent employment was and

has been available since Plaintiff’s termination. Ex. 8, Johnson Aff. at ⁋ 13.

        GuideOne has established that Plaintiff failed to use reasonable efforts to obtain and

maintain comparable employment and that substantially equivalent employment was available.

Plaintiff will not be able to establish a genuine dispute as to a material fact as to either element.

Accordingly, GuideOne is entitled to partial summary judgment precluding Plaintiff from

recovering any back pay or front pay after he accepted employment with Zurich. See Branch v.

City of Brookshire, No. CV H-16-1888, 2018 WL 3439636, at *4 (S.D. Tex. July 16, 2018)

(granting partial summary judgment based on the failure to mitigate defense); Fontenot v. Hughes

MRO, Ltd., No. CIV.A. H-06-1245, 2007 WL 2670099, at *7 (S.D. Tex. Sept. 7, 2007).

                                         CONCLUSION

        Plaintiff maintains that GuideOne made the wrong decision when it terminated him for

plagiarism that exposed it to reputational and legal risk. However, GuideOne does not have to

make “correct” decisions, only non-discriminatory and non-retaliatory ones. The record evidence

demonstrates that GuideOne investigated articles written by two employees for potential

plagiarism. The investigation determined that Plaintiff copied a sentence from a copyrighted article

without citation. This was the actual reason Plaintiff was terminated. There is no evidence that

suggests otherwise. Therefore, summary judgment in favor of GuideOne is appropriate at to all of

Plaintiff’s claims.




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                                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2022, the foregoing was electronically filed with the
Clerk of Court using the CM/ECF system, which will transmit a Notice of Electronic Filing to
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